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 5   Attorneys for Plaintiff
     MARCIA ANDREA KATZ
 6

 7
                          UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
 9

10
     MARCIA ANDREA KATZ,                      ) Case No.: 8:13-cv-01884-JVS-DFM
                                              )
11                Plaintiff,                  ) NOTICE OF VOLUNTARY
           vs.                                ) DISMISSAL
12                                            )
                                              )
13   STANISLAUS CREDIT CONTROL                )
     SERVICE, INC.; and DOES 1 to 10,         )
14                                            )
     inclusive,                               )
15
                  Defendants.                 )
                                              )
16

17
                  VOLUNTARY DISMISSAL WITHOUT PREJUDICE
18
           Pursuant to FRCP 41(a)(1), Plaintiff MARCIA ANDREA KATZ hereby
19
     voluntarily dismisses her claims, without prejudice, against Defendants
20
     STANISLAUS CREDIT CONTROL SERVICE, INC.; and DOES 1 to 10,
21
     inclusive.
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25




                                      Voluntary Dismissal
                                              -1-
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 1                                        RESPECTFULLY SUBMITTED,
 2
     DATED:                               PRICE LAW GROUP APC
 3
     January 20, 2014
 4
                                          By: /s/ G. Thomas Martin, III
 5                                        G. Thomas Martin, III
                                          Attorney for Plaintiff
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                                    Voluntary Dismissal
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